                                                Case 5:11-cv-02509-LHK Document 528 Filed 10/22/13 Page 1 of 1
                                                                                                                                                                                                  Clear Form


  UNITED STATES DISTRICT COURT                                                                           TRANSCRIPT ORDER                                                                        COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                                Please use one form per court reporter.                                                             DUE DATE:
                  CAND 435                                                                        CJA counsel please use Form CJA24
              (CAND Rev. /2013)                                                                Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                                   3a. CONTACT EMAIL ADDRESS
       Christina J. Brown                                                                (415) 984-8979                                                             cjbrown@omm.com
1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                                  3b. ATTORNEY EMAIL ADDRESS
                                                                                         (415) 984-8979                                                             cjbrown@omm.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                   5. CASE NAME                                                                            6. CASE NUMBER

O'Melveny & Myers LLP, Two Embarcadero Center,                                                               In Re High-Tech Employee Antitrust Litigation                                          11-CV-2509
28th Floor, San Francisco, CA 94111
                                                                                                            8. THIS TRANSCRIPT ORDER IS FOR:

7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)→ ❐ FTR                                         ❐ APPEAL             ❐ CRIMINAL      ❐ In forma pauperis (NOTE: Court order for transcripts must be attached)

Lee-Anne Shortridge                                                                                         ✔ NON-APPEAL
                                                                                                            ❐                    ❐ CIVIL          CJA: Do not use this form; use Form CJA24

9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                                        b.             SELECT FORMAT(S) (NOTE: ECF access is included         c.         DELIVERY TYPE ( Choose one per line)
                                                                                                        with purchase of PDF, text, paper or condensed.)

      DATE           JUDGE            TYPE                    PORTION                           PDF        TEXT/ASCII    PAPER       CONDENSED   ECF ACCESS   ORDINARY      14-Day   EXPEDITED       DAILY      HOURLY     REALTIME
                                                 If requesting less than full hearing,        (email)        (email)                   (email)      (web)      (30-day)               (7-day)      (Next day)    (2 hrs)
                      (initials)   (e.g. CMC)   specify portion (e.g. witness or time)

 10/21/13             LHK           CMC                                                        ●
                                                                                               F              F            F               F        F
                                                                                               F              F            F               F        F
                                                                                               F              F            F               F        F
                                                                                               F              F            F               F        F
                                                                                               F              F            F               F        F
                                                                                               F              F            F               F        F
10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:



ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                            12. DATE

11. SIGNATURE
                    /s/ Christina J. Brown                                                                                                                                      10/22/2013

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